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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF GEORGIA
                              SAVANNAH DIVISION




UNITED STATES OF AMERICA
                                         ★


       V.                                *         CR 403-279
                                         *


JAMIE EDWARD BYRD                        *




                                   ORDER




       Before the Court in the captioned case is                 Defendant Jamie

Edward Byrd's request to terminate his term of supervised release.

The Court previously denied Byrd's request for early termination

on   April   11,   2019   (doc.   98)   upon    weighing   the    nature   of   his

offenses and his criminal history against his favorable adjustment

to supervision.

       Byrd's   supervising    probation       officer   reports    that   he   has

continued to perform        well under supervision, except that Byrd

tested positive for and admitted to the use of marihuana on January

10, 2020.       Consequently, the supervising probation officer does

not believe Byrd has completely met the requirements of early

release.     The Court concurs with this assessment.         Upon considering

the factors of 18 U.S.C. § 3553(a), the Court concludes that the

community at large and Byrd himself will benefit from continued

supervision.
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        upon the foregoing, Byrd's motion for early termination of

supervised release (doc. 99) is DENIED without prejudice.

    ORDER ENTERED at Augusta, Georgia, this              day of October,

2020.




                                       J. pANj3^ HALL/CHIEF JUDGE
                                       UNITED/STATES DISTRICT COURT
                                             :rn   district of Georgia
